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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  :
 TOWER HEALTH, f/k/a READING                      :
 HEALTH SYSTEM, et al.,                           : No. 5:19-cv-02782-EGS
                                                  :
                Plaintiffs,                       :
                                                  :
                        v.                        :
                                                  :
 CHS/COMMUNITY HEALTH SYSTEMS,                    :
 INC., et al.,                                    :
                                                  :
                Defendants.                       :
                                                  :

     PLAINTIFFS’ MOTION TO EXCLUDE DEFENDANTS’ PROPOSED EXPERT
                       OPINIONS AND TESTIMONY

       Pursuant to Fed. R. Evid. 702, Plaintiffs Tower Health, f/k/a Reading Health System, et

al., through their undersigned counsel, move to exclude the opinions and testimony at trial of

four expert witnesses designated by Defendants. In support, Plaintiffs submit their

accompanying Brief, which is being filed contemporaneously herewith and is incorporated

herein by reference. For the reasons more fully set forth in Plaintiffs’ Brief, Plaintiffs

respectfully request that the Court grant this Motion and exclude the opinions and testimony of

Hubert Worrell, Craig Hofmeister, John Galassini, and Sean Kruskol at trial.

                                               STEVENS & LEE


Date: April 14, 2021                           By: s/ Julie E. Ravis
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2021, a copy of the foregoing was electronically filed

with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all parties

by operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                                     /s/ Julie E. Ravis
                                                     Julie E. Ravis
